           Case 22-10695-pmm                          Doc 92          Filed 05/03/22 Entered 05/03/22 12:30:12                           Desc Main
                                                                     Document      Page 1 of 8
 Fill in this information to identify the case:

 Debtor name          Little Washington Fabricators, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF PENNSYLVANIA

 Case number (if known)         22-10695
                                                                                                                                       Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     First Resource Bank                                    checking                         1869                                    $46,868.38




            3.2.     First Resource Bank                                    Checking                         4426                                             $5.00



 4.         Other cash equivalents (Identify all)


            4.1.     scrap metals - 50 ton                                                                                                           $16,000.00




 5.         Total of Part 1.                                                                                                                     $62,873.38
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit
                     First and last security deposit for real property lease at 52 Mill Street, Christiana, PA
            7.1.     17509                                                                                                                           $18,588.00
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                page 1
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 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment
                     Prepaid all business insurance with Hartford Financial Services & Selective Insurance
            8.1.     through August, 2022                                                                                                     $90,304.00




 9.         Total of Part 2.                                                                                                             $108,892.00
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                        2,068,647.67    -                                   0.00 = ....               $2,068,647.67
                                              face amount                           doubtful or uncollectible accounts




 12.        Total of Part 3.                                                                                                           $2,068,647.67
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:           Investments
13. Does the debtor own any investments?

       No.     Go to Part 5.
       Yes Fill in the information below.

 Part 5:           Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

       No. Go to Part 6.
       Yes Fill in the information below.
            General description                       Date of the last           Net book value of         Valuation method used    Current value of
                                                      physical inventory         debtor's interest         for current value        debtor's interest
                                                                                 (Where available)

 19.        Raw materials

 20.        Work in progress
            miscellaneous -- beams,
            columns and railings                                                                $0.00                                         $14,000.00



 21.        Finished goods, including goods held for resale

 22.        Other inventory or supplies
            .                                                                                   $0.00                                         $85,000.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 2
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 23.       Total of Part 5.                                                                                                           $99,000.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
            No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                                 0.00 Valuation method                       Current Value             15,000.00

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 39.       Office furniture
           miscellaneous office furniture such as desks,
           chairs, filing cabinets etc. part of lease                                       $0.00                                                 $0.00



 40.       Office fixtures
           none                                                                             $0.00                                                 $0.00



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           15 laptops
           1 network server
           phone system
           platwave wide format printer
           computer equipment and printers
           several small printers                                                           $0.00                                         $20,000.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                              $20,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used      Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2013 Chevrolet Silverado K3500                                         $0.00                                         $28,000.00


           47.2.     2014 Chevrolet Silverado K3500                                         $0.00                                         $16,000.00


           47.3.     2015 Chevrolet Silverado K3500                                         $0.00                                         $32,000.00


           47.4.     2008 Chevrolet Suburban C1500                                          $0.00                                         $10,500.00


           47.5.     2015 Chevrolet Silverado K3500                                         $0.00                                         $32,000.00


           47.6.     2-13 International Pro Truck                                           $0.00                                         $20,000.00


           47.7.     2013 Pequea Truck                                                      $0.00                                           $3,500.00


           47.8.     1997 Fruehauf Trailer                                                  $0.00                                           $3,500.00


           47.9.     2004 Belmont Trailer                                                   $0.00                                           $3,500.00


           47.10
           .     2015 Pequea Trailer                                                        $0.00                                           $3,500.00


           47.11
           .     2010 Cross Trailer                                                         $0.00                                           $1,500.00


           47.12
           .     1999 Ravens Trailer                                                        $0.00                                           $3,500.00


           47.13
           .     2006 Fontaine Trailer                                                      $0.00                                           $5,000.00


           47.14
           .     2018 Chevrolet Silverado C3500                                             $0.00                                         $45,000.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
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           47.15
           .     2005 GMC Sierra C2500/K2                                                   $0.00                                       $8,500.00


           47.16
           .     2018 Pequea Trailer                                                        $0.00                                       $2,500.00


           47.17
           .     2006 Fontaine 48-80 Stretch Flatbed                                        $0.00                                       $5,000.00


           47.18
           .     2006 GMC 5500 with Flatbed & Powerlift                                     $0.00                                       $7,500.00


           47.19
           .     2006 Combi lift                                                            $0.00                                     $20,000.00


           47.20
           .     2006 Scissor lift                                                          $0.00                                       $7,500.00


           47.21
           .     2007 Scissor lift                                                          $0.00                                       $7,500.00


           47.22
           .     2008 Combi lift                                                            $0.00                                     $20,000.00


           47.23
           .     2009 Fork lift                                                             $0.00                                       $5,000.00


           47.24
           .     2011 fork lift                                                             $0.00                                       $5,000.00


           47.25
           .     2015 fork lift                                                             $0.00                                     $12,000.00


           47.26
           .     Komatsu forklift                                                           $0.00                                       $5,000.00


           47.27
           .     Sumner Lift                                                                $0.00                                       $3,200.00


           47.28
           .     New Holland XL665 skid steer                                               $0.00                                     $12,500.00


           47.29
           .     Double-wide mobile officer trailer                                         $0.00                                       $6,500.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels
           48.1. none                                                                $0.00                                                    $0.00



 49.       Aircraft and accessories


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 5
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 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            Welding equipment - see attached list                                           $0.00                                       $309,095.00



 51.        Total of Part 8.                                                                                                        $644,295.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes
 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                               Current value of
                                                                                                                               debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

            Tax Refund                                                                         Tax year 2021                             $23,495.86



 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 6
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           Little Washington Fabricators, Inc., v J. Blanco
           Associates, Inc., and Victor M. Ramos
           United States District Court District of New Jersey
           Civil Action No. 19-19982                                                                                                 $142,613.46
           Nature of claim          Civil Action
           Amount requested                              $0.00


           Little Washington vs Jonas Stoltzfus
           Court of Common Pleas
           CI-22-02441                                                                                                                  Unknown
           Nature of claim        employment dispute
                                  non-compete
           Amount requested                                              $0.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims
           L.R. Costanzo Company, Inc. (counterclaim for breach
           of contract, interest, penalties and attorneys fees under
           PA Prompt Payment Act)                                                                                                     $89,987.45
           Nature of claim           Breach of Contract
           Amount requested                               $0.00



 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                       $256,096.77
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




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 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $62,873.38

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $108,892.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $2,068,647.67

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $99,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $20,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $644,295.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                $256,096.77

 91. Total. Add lines 80 through 90 for each column                                                         $3,259,804.82            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $3,259,804.82




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 8
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